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        Intro
          The Pipe Hitter Foundation is 501(c)3, organization dedicated to supporting veterans, police
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